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  4
      Attorneys for Defendants The Annex, LLC d/b/a Helm Home
  5
                               IN THE UNITED STATES DISTRICT COURT
  6                              CENTRAL DISTRICT OF CALIFORNIA
  7
       BARCLAY BUTERA DEVELOPMENT,                         Case No. 8:23-cv-01139-CJC-KES
  8    INC., BARCLAY BUTERA, INC., and
       BARCLAY BUTERA, individually,                       STIPULATION TO EXTEND TIME TO
  9                                                        RESPOND TO INITIAL COMPLAINT BY
                           Plaintiffs,                     NOT MORE THAN 30 DAYS (L.R. 8-3)
 10
          v.                                               Complaint served:
 11                                                        Current response date: July 31, 2023
       THE ANNEX, LLC d/b/a HELM HOME and                  New response date: August 14, 2023
 12    MARIO FERREIRA,
                                                           Judge Cormac J. Carney
 13                        Defendants.                     Mag. Judge Karen E. Scott
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 16            Pursuant to Local Rule 8-3, and Fed. R. Civ. P. 6, Plaintiffs Barclay Butera Development,
 17   Inc., Barclay Butera, Inc., and Barclay Butera, by and through counsel, and Defendant The Annex,
 18   LLC d/b/a Helm Home, by and through counsel, hereby stipulate to an extension as follows:
 19            1.     On June 21, 2023, Plaintiffs filed their initial complaint in this action.
 20            2.     On June 8, 2023, Plaintiffs served the summons and complaint on Defendant The
 21   Annex, LLC d/b/a Helm Home (“Helm Home”).
 22            3.     The deadline for Helm Home to file its response to Plaintiffs’ initial complaint
 23   pursuant to Fed. R. Civ. P. 12(a)(1)(A)(1) is July 31, 2023.
 24            4.     Pursuant to L.R. 8-3, the parties stipulate to extend the deadline for The Annex,
 25   LLC d/b/a Helm Home to file its response to Plaintiff’s initial complaint until August 14, 2023.
 26            5.     There have been no prior stipulations extending this deadline.
 27            6.     This stipulation does not extend the deadline for more than a cumulative total of
 28   thirty (30) days from the date the response initially would have been due.

                      STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
      SLC_4298061                  BY NOT MORE THAN 30 DAYS (L.R. 8-3)
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  1           IT IS SO STIPULATED.

  2           Dated: July 28, 2023     /s/ David W. Tufts

  3                                    DENTONS DURHAM JONES PINEGAR, P.C.
                                       David W. Tufts
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                                       Attorneys for Defendant The Annex, LLC d/b/a Helm Home
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  6           Dated: July 28, 2023     /s/ Joseph L. Lanza*

  7                                    VETHAN LAW FIRM PC
                                       Charles M. R. Vethan
  8                                    Joseph L. Lanza

  9                                    Attorneys for Plaintiff s

 10                                    *signature affixed with permission of counsel

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                     STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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  1                                    CERTIFICATE OF SERVICE
  2          I declare under penalty of perjury as follows: I am employed in the office of a member of
      the Bar of this Court at whose direction the service was made. My business address is Dentons
  3   Durham Jones Pinegar, P.C., 111 S. Main St., Suite 2400, Salt Lake City, Utah 84111.

  4           On July 28, 2023, I electronically filed the foregoing document with the Clerk of the Court
      the Clerk of the Court using its CM/ECF System, which electronically provides notification of
  5   such filing to all counsel of record in this action.

  6           Executed in Salt Lake City, Utah on July 28, 2023.

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                                                   /s/ Kristin Hughes                    .
  8                                                Kristin Hughes

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                     STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
      SLC_4298061                 BY NOT MORE THAN 30 DAYS (L.R. 8-3)
